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                             IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF MARYLAND

    UNITED STATES OF AMERICA,                               Criminal Case No. 14-CR-00591

                            Plaintiff,

           vs.

    ANGELA BLYTHE,

                            Defendant.


      GOVERNMENT’S RESPONSE TO PETITIONER’S MOTION FOR ACCOUNTING

          In response to the Petitioner’s Motion for Accounting, the Government presents the

following:

     1.   Judgment was entered on December 16, 2015, which included restitution in the total sum

of $948,203.25 1 in favor of the United States and against the Defendant, Angela Blythe

(hereafter, Ms. Blythe). ECF No. 95.

     2. Ms. Blythe’s restitution was ordered to be joint and several with Defendant Samuel R.

Vansickle in Case Number 14-CR-00071. Ms. Blythe’s restitution was also ordered to be joint

and several with Defendant Louis R. Strosnider per Mr. Strosnider’s Restitution Order (ECF No.

160) entered by the Court in Case Number 14-CR-00071 on February 7, 2017.

     3. In addition to the restitution entered as part of the Judgment against Ms. Blythe, in the

Consent Order of Forfeiture filed with the Court on December 14, 2015, a forfeiture money


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  With respect to Ms. Blythe’s restitution balance, as the government researched its response to this motion, the U.S
Attorney’s Office became aware that the restitution figure provided in the Judgment (ECF No. 95) and the balance
indicated in the payment record from the Clerk’s Office did not match. Upon investigation, we learned that the
imposition total, including special assessment, as provided in the judgment was $948,603.25 while the Clerk’s
Office’s balance indicated that the imposition total was $984,603.25. The Clerk’s Office has indicated their
imposition total was recorded in the Statement of Reasons filed with this Court. The United States Attorney’s Office
and the Clerk’s Office are working to resolve the issue of the recorded total imposition in the Judgment versus the
Statement of Reasons and the Clerk’s Office’s balance is now consistent with the Judgment.
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judgment in the amount of $696,517.00 was entered against Ms. Blythe. ECF No. 90. The

forfeiture money judgment was also ordered by the Court to be joint and several with Mr.

Vansickle. 2 ECF No. 95.

    4. In an effort to clarify Ms. Blythe’s Motion for Accounting before this Court, Ms. Blythe

repeatedly refers to the United States Marshal as contacting her regarding her payments, however

the United States Marshal was not involved in the collection efforts for this case. Instead, Ms.

Blythe has been in contact with the United States Attorney’s Office regarding these collection

efforts.

    5. In January 2022, the U.S. Attorney’s Office mailed Ms. Blythe a Financial Disclosure

Statement for her completion, in accordance with our usual practice. This Financial Disclosure

Statement provides the U.S. Attorney’s Office with a picture of the Defendant’s income,

expenses, and assets in order to be able to collect against a Defendant’s restitution debt. The goal

is that after the completion of the Financial Disclosure Statement, the Defendant will sign a

Stipulated Motion for Installment Payment Order ensuring that she will make regular payments

towards her oustanding debt. This Stipulated Motion for Installment Payment Order has been

reviewed and approved by this Court as a model form used by the U.S. Attorney’s Office to enter

Defendants into payment agreements.

    6. On March 31, 2022, after a review of Ms. Blythe’s completed Financial Disclosure

Statement, the Government sent Ms. Blythe via email a proposed Stipulated Motion for

Installment Payment Order for her signature. This Stipulated Motion for Installment Payment


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  In Honeycutt v. United States, 581 U.S. 443 (2017) the Supreme Court held that a defendant may not be held
jointly and severally liable in a forfeiture money judgment for property that a co-conspirator acquired in the
commission of a crime or criminal conspiracy, but which the defendant did not personally obtain. The case was
decided after the judgment in this case became final. Nevertheless, it will be of no practical significance in this case,
as the property at issue will be applied to the debtor’s forfeiture money judgment once all payments associated with
the sales have been completed and the United States Attorney’s Office has been notified that it may proceed to
consider filing a petition for restoration.

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Order requested that Ms. Blythe begin submitting payments of $150 per month starting on May

1st, 2022 and continuing thereafter on the 1st day of each month. The Stipulated Motion for

Installment Payment Order also stated that if Ms. Blythe agreed to the proposed payment plan,

the United States would refrain from execution on the judgment so long as Ms. Blythe complied

strictly with the terms set forth in the Stipulation. Execution on the judgment may include

garnishment of wages, garnishment of bank accounts, and writs of execution on property. Again,

this agreement allows debtors to enjoy a sense of economic security while freeing the United

States Attorney’s Office to focus its attention on debtors who are unwilling to commit to making

regular payments.

   7. On June 10th, 2022 after repeated attempts to contact Ms. Blythe directly, the

Government was contacted by attorney Mary Davis regarding her representation of Ms. Blythe in

another pending matter before this Court. The U.S. Attorney’s Office reiterated to Ms. Davis that

if Ms. Blythe agreed to sign the Stipulated Motion for Installment Payment Order that we could

refrain from further execution on Ms. Blythe’s debt for the reasons articulated above.

   8. After repeated follow-up emails with Ms. Davis, the U.S. Attorney’s Office was informed

on July 25, 2022 to contact Ms. Blythe directly regarding the pending Stipulated Motion for

Installment Payment Order. Ms. Blythe responded to the U.S. Attorney’s Office on September 9,

2022 stating that a Motion for Accounting would be filed with the Court. A detailed payment

history was provided to Ms. Blythe on September 14, 2022.

   9. The U.S. Attorney’s Office has repeatedly informed Ms. Blythe both directly and through

her counsel that simply making the suggested monthly payments of $150 is not sufficient to

obtain a commitment from the U.S. Attorney’s Office to refrain from further collection action on

her oustanding debt. This is consistent with standard practice in regard to all other debts handled



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by the United States Attorney’s Office in this district. To date, Ms. Blythe has not signed the

U.S. Attorney’s Office’s proposed Stipulated Motion for Installment Payment Order.

    10. A detailed payment history provided by the Clerk’s Office as well as a payment history

from the U.S. Attorney’s Office’s collections sytem for Ms. Blythe’s outstanding restitution are

submitted herewith and filed under seal (Exhibits 1 and 2). A comparison of the payment history

from the U.S. Attorney’s Office and the Clerk’s Office shows that all payments submitted by Ms.

Blythe have been applied in both the U.S. Attorney’s Office and Clerk’s Office collection

systems. In addition, the Clerk’s Office has credited payments made by co-defendants 3; the U.S.

Attorney’s Office credits those payments periodicially when reconciling their records with the

Clerk’s Office.

    11. In regard to Ms. Blythe’s forfeiture money judgment, she inquires as to the status of

properties that were sold by the United States as part of her co-defendant, Mr. Vansickle’s

Preliminary Order of Forfeiture (ECF No. 98, Case Number 14-CR-00071). As stated in her

motion, Ms. Blythe is concerned both about the credit towards her forfeiture money judgment

from the sale of these properties, and about the credit towards her restitution. She states that the

United States Marshal collected more than $2.7 million without crediting her for the payments

received.

    12. Of course, Ms. Blythe has presented the sales price of the real estate as gleaned from

public records. Each parcel of real estate has a different mix of claims, encumbrances, and other

interests that must be paid before money is available for distribution. In this case, we have not



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  Ms. Blythe’s motion to the Court also includes a request for information regarding payments made by her co-
defendants. Due to privacy rights, neither the United States Attorney’s Office nor the Clerk’s Office may disclose
the payment histories of other defendants in this case, regardless of whether or not those co-defendants are joint and
several for the restitution. We can, however, indicate that all such payments have been applied to Ms. Blythe’s
restitution balance. A review of Ms. Blythe’s payment history shows that, indeed, she is receiving credit towards
her restitution balance for all payments received from her co-defendants.

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been notified by the U.S. Marshals Service that funds are available, and we know that several of

the parcels are still involved in claims disposition. We are scheduling a meeting in January to

discuss what remains to be done to bring the real estate issues to a conclusion.

   13. Once all requisite costs, expenses and claims for each parcel have been paid, our office

will credit the remaining net income against Mr. Vansickle’s forfeiture money judgment and then

against Ms. Blythe’s forfeiture money judgment. Ms. Blythe will be provided with statements as

this process is ongoing, and once her forfeiture money judgment is paid in full.

   14. Finally a “restoration hold” has been placed on all of the assets. Before any of the funds

are transferred to the Asset Forfeiture Fund, the United States Attorney’s Office will have an

opportunity to consider whether to file a Petition for Restoration to have the forfeited funds

applied to the restitution judgment of Mr. Vansickle and, pursuant to the “joint and several

liability” order, to Ms. Blythe’s restitution judgment. If the United States Attorney’s Office

believes that it can make the representations required, it will submit a Petition for Restoration to

the Money Laundering and Asset Recovery Section (MLARS), which has been delegated

authority by the Attorney General of the United States to handle many of these matters. It is

within the discretion of the United States Attorney’s Office to submit this petition to MLARS to

have these funds credited, and MLARS has the sole authority to either approve or deny the

application of these funds to Ms. Blythe and her co-defendants’ debts.

   15. In this case, distributions to other claimants are currently being made with regard to one

or more of the real properties in question. Once a final net amount is determined, then the

United States Attorney’s Office will evaluate whether it can make the necessary representations

to submit a petition for restoration. If such a petition is made and MLARS approves it, then the




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funds from the liquidated assets will be applied to Mr. Vansickle’s restitution. That payment will

be applied as well to Ms. Blythe’s restitution debt, at that time.

   16. Finally, in regard to Ms. Blythe’s pending Freedom of Information Act (FOIA) request to

the Department of Justice, the defendant is attempting to do an end-run around the proper

channels and get this Court to weigh in on a matter over which this Court has no jurisdiction at

present. It is impossible to tell based on Ms. Blythe’s motion the exact nature of her FOIA

request and the exact office to which it was directed. Ms. Blythe must follow up with the proper

FOIA officer at the Executive Office for United States Attorneys in order to request any

additional information about her pending request, and then must pursue the matter through the

appropriate procedures if she is unsatisfied with the response she receives.

   17. Unless and until Ms. Blythe’s restitution judgment is paid in full, the Financial Litigation

Program (part of the Asset Recovery and Money Laundering Unit of the United States

Attorney’s Office) is required to collect the restitution for victims. Clearly Ms. Blythe does not

believe the amount it seeks to collect is unreasonable, as she is making those payments each

month. She has been told that she can enter into an installment payment agreement for that

amount or she can risk forced collection action. Her response is to try to get the Court to create a

third choice which allows her to pay what she wants each month without fear of forced collection

action. But there is nothing that allows the Court to curtail the government’s statutory collection

tools for the debtor’s convenience.

       Accordingly, and for good cause shown, the government respectfully asks this Court to

take no action with regard to the Defendant’s Motion for an Accounting, and for such other and

further relief as the Court deems just and equitable.




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                            Respectfully submitted,

                            Erek L. Barron
                            United States Attorney
                                                     Digitally signed by
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